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                                                               U.S. Department of Justice

                                                               United States Attorney
                                                               Western District of New York
                                                               Federal Centre
                                                               138 Delaware Avenue
                                                               Buffalo, New York 14202
Asset Forfeiture Unit | Asset Recovery Division
(716) 843-5700



                                                        August 18, 2022

Hon. Lawrence J. Vilardo
United States District Court Judge
Robert H. Jackson United States Court
2 Niagara Square
Buffalo, New York 14202

                  Re:      United States v. $33,126 United States Currency
                           Case No.: 22-MC-10-LJV

Dear Judge Vilardo:

       On or about August 15, 2022, the putative claimants and the government in this matter
executed a Consent Agreement to Seizure and Forfeiture.

       As a result, the seized currency will be administratively forfeited by the United States
Customs and Border Protection pursuant to the terms of the agreement. There is no longer a
need of the government to pursue civil judicial forfeiture of the seized currency.

       No other claims to the seized currency have been filed and the time to file a claim to
the defendant currency has expired.

         The parties agree that this miscellaneous civil matter may be closed.

       Should you have nay questions and/or concerns, please do not hesitate to contact me
at 716-843-5809.

         Thank you for your time and consideration in this regard.

                                                        Very truly yours,

                                                        TRINI E. ROSS
                                                        United States Attorney



                                                  BY:   s/MARY CLARE KANE
                                                        Assistant United States Attorney

Cc: TheArthur A. Duncan, Esq. (via ECF)
